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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

KBLLI ROWLETTE, an individual, SALLY Case No. 4:18-CV-00143-DCN
ASHBY, an individual, and HOWARD FOWLER,
an individual

Plaintiffs,
DEFENDANT OBSTETRICS AND
v. GYNECOLOGY ASSOCIATES OF IDAHO
FALLS, P.A.’S ANSWER AND DEMAND FOR
GERALD E. MORITMER, M.D., L]NDA G. IURY TRIA_L

MCKYNNON MORTll\/ZER, and the marital
community comprised thereof, and OBSTETRICS
AND GYNECOLOGY ASSOCIATES OF IDAHO
FALLS, P.A., an Idaho professional corporation,

Defendants.

 

 

COMES NOW, Defendant Obstetrics and Gynecology Associates of Idaho Falis, P.A.,
(“OGA”), separately from all other parties, by and through counsel of record, and answers
Plaintiffs’ Cornplaint as follows:

i. Defendant alleges that the Complaint, in Whoie or in part, fails to state a claim
against this answering Defendant upon Whjch relief can be granted

2. Defendant denies generally and specifically each and every allegation in the

Cornpiaint not herein specihcaiiy admitted

 

l - DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
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3. Defendant admits the allegations of paragraphs l, 2, 3, 8, and 9 of the Ccrnplaint.

4. Defendant denies the allegations of paragraphs 66, 67, 69, 70 and 7l of the
Cornplaint.

5. Answering paragraphs 4, 5, ll, 12, 13, 14, 15, 16, 17, 20, 21, 22, 23, 24, 25, 27,
28, 29, 30, 32, 33, 35, 36, 37, 38, 39, 40, 42, 43, 44, 46, 47, 48, 50, Sl, 53, 54, 55, 56, 57, 59, 60,
6l, 62, 63, and 64 of the Complaint, the allegations of the paragraphs appear to be directed at
parties other than this answering Defendant. As such, an answer from this Defendant is not
required To the extent an answer is required, this answering Defendant is currently without
sufficient knowledge, inforrnation, and/or expertise to either admit or deny the allegations cf the
paragraphs and, on that basis, deny the allegations of the paragraphs

6. Answering paragraph 6 of the Complaint, Defendant admits that OGA is a
professional corporation incorporated under the laws of ldahc with its principal place of business
in Bonneville County, ldaho. Defendant denies the remaining allegations of the paragraph

7. Answering paragraph 7 of the Complaint, Defendant admits that the controversy
is between citizens of different states and that Dr. Mortimer provided medical care to Plaintiff
Sally Ashby in Bonneville County, ldaho. Defendant denies the remaining allegations of the
paragraph

8. Answering paragraph 10 of the Cornplaint, Defendant admits that Ms. Ashby was
a patient of OGA in 1979 and was treated by Dr. Mortimer. The remaining allegations of the
paragraph appear to be directed at parties other than this answering Defendant. As such, an
answer from this Defendant is not required To the extent an answer is required, this answering

Defendant is currently without sufficient knowledge, inforrnation, and/or expertise to either

 

2 ~ DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF lDAHO FALLS,
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admit er deny the remaining allegations of the paragraph and, on that basis, deny the remaining
allegations of the paragraph

9. Answering paragraph 18 of the Complaint, Defendant admits that Ms. Ashby
underwent the inselnination procedure on mere than one occasion in 1980. Defendant is
currently without sufficient information and/or knowledge to either admit or deny the remaining
allegations and, on that basis, denies the remaining allegations of the paragraph

10. Answering paragraph 19 of the Complaint, Defendant admits that l\/[s. Ashby
gave birth to Kelli Rowlette, aka Kelli Fowler, on May 20, l98l and that Dr. Mortirner delivered
Kelli Rowlette. The remaining allegations of the paragraph appear to be directed at parties other
than this answering Defendant. As such, an answer front this Defendant is not required To the
extent an answer is required this answering Defendant is currently without sufficient knowledge,
information, and/or expertise to either admit cr deny the remaining allegations of the paragraph
and, on that basis, deny the remaining allegations of the paragraph

ll. Answering paragraphs 26, 31, 34, 41, 45, 49, 52, 58, 65, and 68 of the Cornplaint,
Defendant re-alleges and incorporates the contents of paragraphs l through 10 as if set forth at
length herein.

FIRST AFFIRMATIVE DEFENSE

As a separate further answer and defense, without admitting that Piaintiffs suffered any
damages caused by OGA and specifically denying that Plaintiffs suffered any such damages,
Defendant alleges that to the extent Plaintiffs have failed to reasonably mitigate damages,

Plaintiffs may net recover for damages which could have been reasonably avoided

 

3 - DEFENDANT OBSTETR§CS AND GYNECOLOGY ASSOClATES OF IDAHO FALLS,
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SECONI) AFFIRMATIVE DEFENSE

As a separate iiirther answer and defense, without admitting that any damages should be
awarded to Plaintiffs and specifically denying that any damages should be awarded to Plaintiffs,
Defendant alleges that to the extent Plaintiffs have been compensated by collateral sources
provided fer in l.C. § 6-l606, any award issued in this case should be reduced by the same.

THIRD AFFIRMATIVE DEFENSE

As a separate further answer and defense, without admitting that any damages should be
awarded to Plaintiffs and specifically denying that any damages should be awarded to Plaintiffs,
this Defendant alleges that Plaintiffs’ non-economic damages, if any, are limited by I.C. § 6-
1603, and other applicable law.

FOURTH AFFIRMATIVE DEFENSE

As a separate further answer and defense, Defendant alleges that Plaintiffs’ damages, if
any, are subject to I.C. §§ 6-1602, 6-1604, 6-1607, and other applicable law. Defendant denies
that any damages should be awarded to Plaintiff against this answering Defendant

FIFTH AFFIRMATIVE I}EFENSE

As a separate further answer and defense, Defendant alleges that Plaintiffs’ damages, if
any, may have been proximately caused or contributed to by the conduct or actions of other
persons, or entities whose conduct or actions may have caused or contributed to the damages
alleged by Plaintiffs and the negligence of all parties, persons, or entities whose actions caused
or contributed to the alleged injuries should be compared and apportioned as provided by idaho

statute and law.

 

4 w DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
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SIXTH AFFIRMATIVE DEFENSE
As a separate further answer and defense, without admitting that any damages should be
awarded to Plaintiffs and specifically denying that any damages should be awarded to Plaintiffs,
this Defendant alleges that Plaintiffs’ damages, if any, were proximately caused or contributed to
by superseding, intervening acts, omissions, circumstances, or conditions for which this
answering Defendant was not responsible
SEVEN’I`H AFFIRMATIVE DEFENSE
As a separate further answer and defense, Defendant alleges that to the extent Plaintiffs’
claim for breach of contract is directed at this answering Defendant, the claim is barred by the
statute of limitations set forth in I.C. § 5-216 and § 5-2l7.
EIGHTH AFFIRMATIVE DEFENSE
As a separate further answer and defense, Defendant alleges that to the extent Plaintiffs’
claim for fraud is directed at this answering Defendant, the claim is barred by the statute of
limitations set forth in l.C. § 5-218.
NINTH AFFIRMATIVE DEFENSE
As a separate further answer and defense, Defendant alleges that to the extent Plaintiffs’
claims for medical negligence, failure to obtain informed consent, intentional infliction of
emotional distress, negligent infliction of emotional distress, and negligent supervision are
directed at this answering Defendant, the claims are barred by the statute of limitations set forth

in i.C. § 5..219(4).

 

5 - DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF lDAl-IO FALLS,
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TENTH AFFIR]V[ATIVE DEFENSE

As a separate further answer and defense, Defendant alleges that to the extent Plaintiffs’
claim for battery is directed at this answering Defendant, the claim is barred by the statute of
limitations set forth in I.C. § 5-219(5).

ELEVENTH AFFIRMATIVE DEFENSE

As a separate further answer and defense, Defendant alleges that to the extent Plaintiffs’
claim for violation of the Consumer Protection Act is directed at this answering Defendant, the
claim is barred by the statute of limitations set forth in I.C. § 48-6] 9.

TWELFTH AFFIRl\/lATIVE DEFENSE

As a separate further answer and defense, Defendant alleges that Plaintiffs’ claim for
respondeat superior is barred by the statute of limitations set forth in I.C. §§ 5~216, 5»217, 5-218,
5~219(4), 5~219(5), and 48-619.

THIRTEENTH AFFIRMATIVE DEFENSE

As a separate further answer and defense, Defendant alleges that Plaintiff Kelli Rowlette
lacks standing to assert any and all claims contained in the Cornplaint filed in this matter and, in
addition, is not the real party in interest

FOURTEENTH AFFIRMATIVE DEFENSE

As a separate further answer and defenseJ Defendant alleges that pursuant to Idaho Code
§ 6-1012 and 6-1013, the gist of Plaintiff’ s complaint is medical malpractice and, as such, all
other claims are improper and should be barred

FIF'I`EENTH AFFIRMATIVE DEFENSE
As a separate further answer and defense, Defendant does not admit that it has the burden

of proving the allegations or denials contained herein. Additionally, Defendant has not had the

 

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opportunity to conduct discovery in this case and to the extent that Defendant has not raised any
affnrnative defense to Plaintiffs’ Complaint, Defendant reserves the right to supplement this
Answer and add additional defenses as warranted by the discovery in this case.
REQUEST FOR ATTORNEY FEES

Defendant OGA alleges that the services of 'lhomsen Ho]man Wheiler, PLLC have been
engaged in the defense of Plaintiffs’ Complaint and that this answering Defendant is entitled to
reasonable attorney fees and costs from Plaintiffs pursuant to FRCP 54 and/or l.C. § 12-120(3).

WI-lEREFORE, Defendant OGA prays for the judgment, order, and decree of this Court
as follows:

1. That Plaintiffs’ claims against Defendant be dismissed with prejudice and
Plaintiffs take nothing from Defendant thereby;

2. For judgment against Plaintiffs for costs and disbursements incurred herein;

3. For judgment against Plaintiffs for attorney fees as set by this Court pursuant to
Statute and court rule;

4. For such other and further relief as the Court deems just and proper under the

circumstances

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DATED this / of May, 2018.

B,, Q/,c/ 765 :)/;,

Richard R. Friess

 

7 _ DEFENDANT OBSTETRlCS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
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CERTIFICATE OF SERVICE

l hereby certify that on MayL`/_(, 2018, l electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system:
SHEA C. MEEHAN
WALKER HEYE MEEHAN & EISINGER, PLLC

1333 COLUMBIA PARK TRAIL, STE 220
RICHLAND, WA 993 52

B,, @»MQW

Richard R. Friess

JMW/7800.037/'PLEADINGS/001 ANSWER

 

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